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                                   IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,

                          Plaintiff,                                                      No. 1:21-cr-563-JDB

 v.                                                                      DEFENDANT’S BRIEF IN SUPPORT OF
                                                                            SENTENCING MEMORANDUM
 VICTORIA CHARITY WHITE,

                          Defendant.


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Introduction

          Victoria White entered the Lower West Terrace tunnel of the Capitol Building on January

6, 2021 and attempted to push through law enforcement officers. She deeply regrets her conduct.

At sentencing, White will express remorse for her involvement in the events at the Capitol that day

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and will vow never again to interfere with officers during a riot, the offense to which she pleaded

guilty. 18 U.S.C. § 231(a)(3).

       Although White’s conduct was hardly unique that day, the charges she faced were unusual

when one compares her actions with those of other January 6th defendants. White did not enter the

Capitol Building until she was apprehended in the lower west tunnel and taken into the Capitol

Building by law enforcement. She did not destroy property or assault any law enforcement officer.

In fact, prior to her being apprehended inside the tunnel, an officer struck White with a metal baton

on her head, opening a wound and causing her to bleed profusely. Yet White was charged not only

with a felony civil disorder offense but also with entering and remaining in a restricted building

under § 1752(a)(1), disorderly and disruptive conduct in a restricted building or grounds under §

1752(a)(2), and disorderly conduct in a capitol building or grounds under 40 U.S.C §

5104(e)(2)(D).

       Surveying § 231(a)(3) charges in other January 6th cases shows that, unlike many other

rioters charged with a civil disorder offense, White did not attempt to assault law enforcement

officers, enter the Capitol Building, move bike racks or fencing, or destroy any property. White

admits she attempted to push through the police line in the Lower West Terrace Tunnel and accepts

responsibility for this conduct. White agrees with the computation of her criminal history category

and offense level, resulting in a Guidelines range of 0-6 months’ incarceration.

       Given that White’s conduct is less severe than nearly every other defendant charged under

§ 231(a)(3)—indeed, less severe than the conduct of dozens of misdemeanants who actually

entered the Capitol—and in light of injuries she incurred from law enforcement when she was

taken into custody, she submits that her felony conviction, coupled with a sentence of three

months’ home detention, 24 months’ probation, and a fine would be sufficient but not greater than

necessary to comply with the purposes of § 3553(a).
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Factual Background

       A.      White’s History and Characteristics

       White’s parents divorced prior to her birth and her father, Dennis White, was not involved

with White’s upbringing. PSR ¶ 60. White has no memory of her father. PSR ¶ 63. White was

abandoned by her mother, Marcene, when White was only three months old. PSR ¶ 60. Marcene

struggled with mental illness throughout her life and was not involved in White’s childhood. PSR

¶ 64. White never had a meaningful relationship with her mother. Id.

       White was the youngest of ten siblings and Marcene left White to be raised by her second

oldest sister, Betty. PSR ¶60. Betty was still a minor when she became White’s caretaker. Id. When

White was six months old the responsibility for her upbringing was assumed by her eldest sister,

Mary. Id. Mary, still only 18 years old, struggled to provide for White and was not able to ensure

White’s basic needs were met. Id. White believed Mary to be her biological mother until she was

eight years old, when Mary’s abusive husband told White the truth. Id. He was physically and

verbally abusive towards White, requiring intervention by protective services. Id.

       White graduated from high school in 2000 and obtained her Certified Nursing Assistant

(CNA) in 2003. PSR ¶ 99, 100. White’s oldest daughter, Tatianna, was born 2003, from her

relationship with Sandy Kimball. PSR ¶ 82. White’s second oldest daughter, Alona, was born in

2005 from a brief relationship with James Reed, who is currently incarcerated for murder and

attempted murder. PSR ¶ 81. White’s two youngest children, Nevaeh (age 16) and Kendra (age

15), are the result of a five-year relationship with Andre Sanders. PSR ¶ 80. Sanders ended the

relationship after the birth of their youngest daughter due to her having health issues. Id. White is

the primary caretaker for her children. She maintains a close relationship with all her children and

has sole custody of the two minor children. The minor children’s father is not involved.



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       White had a ten-year relationship with Ricardo Owens that ended in 2013. PSR ¶ 79.

White’s relationship with Owens was “horrible” due to his extreme abuse. Id. White is “lucky to

be alive” as she survived daily abuse by Owens. Id. White suffered numerous injuries that required

medical treatment, including a broken foot and skull fracture. Id. Eventually, White was able to

end the relationship and obtain a 50-year protective order. Id. White has been diagnosed with post-

traumatic stress disorder, which she manages with medication. PSR ¶ 90, 92.

       B.      Nature and Circumstances of the Offense

       As indicated, White pleaded guilty to interfering with law enforcement officers during a

civil disorder under § 231(a)(3). In her plea agreement, the parties agreed that a base offense level

of 10 applied under U.S.S.G. §2A2.4(a). ECF No. 81, p. 3. White has clearly demonstrated

responsibility resulting in a total offense level of 8. Signed contemporaneous with her plea

agreement, White’s statement of the offense stipulated the following facts, among others:

       1.      On December 17, 2020, during a live-feed YouTube show that White participated

in, White expressed the need for more serious action against “corrupt politicians.” In response to

an individual on the show encouraging White to not get herself in trouble, White stated: “If we

don’t stand now, if we don’t fight back now, even if we do it without violence, right? If we aren’t

willing to take the risk of getting arrested.” ECF No. 82, pg 4.

       2.      On January 6, 2021, White approached the west front of the Capitol Building where

a large group of rioters had formed on the steps on the Lower West Terrace. ECF No. 82, p. 4.

       3.      At 3:45, White made her way from the top steps near a window on the Lower West

Terrace toward the tunnel entrance to the Lower West Terrace that was packed with rioters pushing

against Metropolitan Police Department (“MPD”) officers in riot gear. White encouraged the

others to push forward ECF No. 82, p. 4.



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       4.       By 4:07 P.M., White made her way to the front of the crowd in the tunnel directly

in the front line of MPD officers. White and others attempted to push through the line of MPD

officers, who were using their shields and batons to keep the crowd back. ECF No. 82, p. 5.

       5.       MPD apprehended White at 4:11. ECF No. 82, p. 5.

       6.       In the days after January 6th, White participated in an interview and stated she was

“pushing to get in because I’m assuming it’s just another doorway to go up to the next level.” ECF

No. 82, p. 5.

       7.       In a second interview, White described the tunnel as follows:

       “People are trying to get through or push through. But when people are pushing,
       you have to understand, it’s like a mass of people. A lot of people crammed together
       and ya know the police are right there and they were like spraying everyone like
       macing them. And then I look a police officer and I’m like, you took an oath to the
       Constitution, and apparently that didn’t sit so well with him, and he decided to hit
       me really hard on the head with a metal baton.”
       ECF No. 82, p. 5.
       Significant is White’s effort to stop other rioters from vandalizing and destroying the

Capitol Building. Prior to making her way into the Lower West Terrace tunnel, White was near a

window at the top of the steps. Rioters were smashing the window with metal poles, attempting to

break through the window when White physically intervened and pulled the vandalizer away from

the building. Exhibit B. White pleaded with the vandalizer to stop, stating “we don’t do that shit.”

Exhibit A. White contends her efforts to prevent destruction of the Capitol Building are mitigating

and worthy of consideration.

       Noteworthy is the injury suffered by White when she was apprehended. Soon after White

made her way to the front of the tunnel, she attempted to push through the line of MPD officers.

An officer swung his metal baton over the line and struck White more than a dozen times on her

head. Exhibit C. In Exhibit C, an MPD officer wearing a white shirt in the lower left corner of the



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video is seen reaching over a riot shield and striking White more than a dozen times.1 These blows

to White’s head caused her to bleed profusely. Exhibit D. Law enforcement officers then pulled

White through the line and took her into custody. White was compliant with officers as she was

lead through the Capitol Building to a holding cell. White only entered the Capitol Building after

being taken into MPD custody.

Argument

           I. Sentencing Procedure

           As the Court is well aware, it has broad discretion to consider nearly every aspect of a

particular case, and a particular defendant, in fashioning an appropriate sentence. United States v.

Booker, 543 U.S. 220 (2005); Gall v. United States, 552 U.S. 38 (2007); Kimbrough v. United

States, 552 U.S. 85 (2007). Although the Court must first calculate the appropriate sentencing

range under the Guidelines, it is not bound by the Guidelines or Guidelines Policy Statements. It

may make its own policy judgments, even if different from those in the Guidelines. Kimbrough,

552 U.S. at 101.

           The Court must merely impose a sentence consistent with the terms of 18 U.S.C. § 3553(a)

and § 3661. As the Court knows, the cardinal requirement of § 3553(a) is that the “court shall

impose a sentence sufficient, but not greater than necessary to comply with the purposes of [§

3553(a)]. . .” § 3553(a).

           II.      The § 3553(a) factors favor a sentence of probation

                    A.       The History and Characteristics of the Defendant (§ 3553(a)(1))

           A number of considerations under § 3553(a)(1) merit a sentence of probation or home

detention in White’s case: (1) her facts are considerably less severe than virtually every other §




1
    The referenced portion of the video starts at the 5:43 minute mark of the video.
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231(a)(3) January 6th conviction; (2) White’s attempts at preventing vandalism to the Capitol

Building on January 6th; (3) White’s treatment during her apprehension; and (4) White’s remorse.

               1.      Nearly all the § 231(a)(3) cases are more severe than White’s

        White pleaded guilty to § 231(a)(3) and admitted to interfering with law enforcement

officers carrying out their duties. While she did not remove barriers so other rioters could access

the Capitol Building and she did not parade through the Capitol Building, she did push to the front

of the crowd and attempted to push through the line of MPD officers. White was at the front of the

crowd for approximately four minutes before she was arrested. Prior to apprehending White, an

MPD officer struck her with a metal baton on the head, causing her to bleed. Exhibits C & D.

Unlike most of the other January 6th cases, White never entered the Capitol building prior to being

arrested.

        While White was at the front of the crowd pushing to get through the police line, she never

assaulted an officer, sprayed bear spray at officers, or threw objects at officers. That distinguishes

her case from many of the other January 6th defendants charged under § 231(a)(3):

 § 231(a)(3) 1/6 Defendant          Case No.                           Violent criminal conduct

 Adams                              21-cr-84                           Pushed police officers against a
                                                                       wall
 Alam                               21-cr-190                          Threw punches at law
                                                                       enforcement
 Antonio                            21-cr-497                          Threw objects at police
 Ballard                            21-mj-529                          Threw tabletop at police
 Bingham                            21-mj-430                          Threw punch at officer
 Brock                              21-mj-527                          Striking police with rod
 Brockhoff                          21-mj-444                          Shooting fire extinguisher at
                                                                       police
 Brown                              21-mj-565                          Spraying pepper spray in
                                                                       officers’ faces
 Brown                              21-mj-498                          Punching police

                                                  7
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Buteau                        21-mj-487                     Throwing hard objects at police
Byerly                        21-mj-500                     Tasing police
Caldwell                      21-cr-181                     Spraying pepper spray at police
Coffee                        21-cr-327                     Hitting officer with crutch
Dasilva                       21-mj-520                     Grabbing, pushing and pulling
                                                            police
DeGrave                       2021 U.S. Dist. LEXIS 92102   “Coming to blows” with police
Egtvedt                       21-cr-177                     Throwing punches at police
Fairlamb                      21-cr-120                     Shoving and punching police
Fitzsimons                    21-cr-158                     Punching officers
Foy                           2021 U.S. Dist. LEXIS         Swinging hockey stick and
                              123953                        throwing objects at police
Galetto                       21-mj-386                     Knocking officer to the ground
Jenkins                       21-cr-245                     Throwing pole at officers
Johnson                       21-cr-332                     Knocking over officer who falls
                                                            unconscious
Judd                          21-cr-40                      Throwing object on fire at
                                                            police
Klein                         21-cr-236                     Striking officers with shield
Lang                          21-cr-53                      Thrusting a bat and shield at
                                                            officers
Languerand                    21-cr-353                     Throwing garbage cans at
                                                            officers
Lazar                         21-mj-533                     Spraying chemicals at police
Mackrell                      21-cr-276                     Striking multiple officers
McCaughey III                 21-cr-40                      Striking multiple officers
McGrew                        21-cr-398                     Striking officer
McHugh                        21-cr-453                     Macing officers
McKellop                      21-cr-268                     Macing officers
Mellis                        21-cr-206                     Striking officers with a stick
Middleton                     21-cr-367                     Poking officers in the face
Miller                        21-cr-75                      Spraying officers with pepper
                                                            spray
Morss                         21-cr-40                      Striking officer with shield
Mullins                       21-cr-35                      Assaulting officer
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 Nichols                          21-cr-117                         Spraying pepper spray at
                                                                    officers
 Owens                            21-cr-286                         Striking officer in the head with
                                                                    skateboard
 Padilla                          21-cr-214                         Ramming cop with metal sign
 Palmer                           21-cr-328                         Spraying fire extinguisher in
                                                                    face of officer
 Pezzola                          21-cr-52                          Smashing large window of
                                                                    Congress, a crime of violence
 Quaglin                          21-cr-40                          Striking multiple officers
 Randolph                         21-cr-332                         Assaulting officer
 Sabol                            21-cr-35                          Striking officer
 Sandlin                          21-cr-88                          Attempting to rip helmet off
                                                                    officer
 Sandford                         21-cr-86                          Throws fire extinguisher at
                                                                    officers
 Sargent                          21-cr-258                         Throwing punches at officers
 Schwartz                         21-cr-178                         Bear spraying officers
 Shively                          21-cr-151                         Assaulting officers

 Sibick                           21-cr-291                         Attempting to take officer’s
                                                                    gun, while threatening to kill
                                                                    him
 Stager                           21-cr-35                          Smashing officer with flag pole
 Stevens                          21-cr-40                          Striking officer with shield
 Webster                          21-cr-208                         Striking officer with flag pole
 Woods                            21-cr-476                         Tripping officer and pushing her
                                                                    to ground

       That White’s interfering acts did not involve physical violence or physical harm to an

officer warrants a sentence of probation or home detention.

       A defendant’s remorse, whether exceptional or not, is a factor to be considered at

sentencing and may merit a sentence at the lower end of the range. White deeply regrets her



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decision to interfere with law enforcement officers on January 6th. White will personally

demonstrate remorse at sentencing in her allocution and will leave little doubt about her feelings.

               B.      Avoiding Unwarranted Sentence Disparities (§ 3553(a)(6))

       Section 3553(a) requires courts to fashion a sentence in a way that avoids “unwarranted

sentence disparities among defendants with similar records who have been found guilty of similar

conduct.” § 3553(a)(6). Although White has been convicted of a felony offense, it must be borne

in mind that her offense conduct is similar to that of many January 6th misdemeanants and in some

cases is less severe. After all, unlike hundreds of January 6th defendants, White did not enter the

Capitol Building and act in a disorderly manner inside the Capitol Building:

 1/6 Def. & Case No.      Charge                     Sentence                  Offense Conduct
 Josh & Jessica Bustle,   Parading in Capitol        24 mos. probation         Entered Capitol
 21cr238                                             and 24 mos.               Building, remained for
                                                     supervised release        20 minutes.
                                                                               Posted on Facebook,
                                                                               “Pence is a traitor.
                                                                               We stormed the
                                                                               capital (sic). . . We
                                                                               need a revolution!”
 Bryan Ivey, 21cr267      Parading in Capitol        36 mos. probation         Entered Capitol
                                                                               Building through a
                                                                               breached window,
                                                                               waving additional
                                                                               rioters into the
                                                                               building, spending 30
                                                                               minutes inside.
 Valerie Ehrke,           Parading in Capitol        36 mos. probation         Entered Capitol
 21cr97                                                                        Building.
 Danielle Doyle,          Parading in Capitol        2 mos. probation          Entered the Capitol
 21cr324                                                                       Building by climbing
                                                                               through broken
                                                                               window, remained
                                                                               inside for about 30
                                                                               minutes.




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Andrew Bennett,          Parading in Capitol        3 mos. home            Entered the Capitol
21cr227                                             confinement, 24 mos.   Building, livestreaming
                                                    probation              the event on his
                                                                           Facebook page for
                                                                           over an hour.

Lori, Thomas Vinson,     Parading in Capitol        5 years probation,     Entered the Capitol
21cr355                                             120 hours of           Building, later telling
                                                    community service      news outlet that her
                                                                           actions were “justified”
                                                                           and that
                                                                           she would “do this all
                                                                           over again.”
Jordan Stotts, 21cr272   Parading in Capitol        24 mos. probation      Entered the Capitol
                                                                           Building, remained
                                                                           inside for an hour,
                                                                           celebrating with others
                                                                           and taking videos with
                                                                           his cell
                                                                           phone.
Jenny Cudd, 21cr68       Parading in Capitol,       2 mos. probation       Entered the Capitol
                         Entering Restricted                               Building.
                         Area
Glen Croy, 21cr162       Parading in the Capitol    36 mos. probation      Entered the Capitol
                                                                           Building. Chief Judge
                                                                           suggested at plea
                                                                           hearing that parading
                                                                           offense is not
                                                                           conceptually different
                                                                           from government’s
                                                                           obstruction of justice
                                                                           charge under §
                                                                           1512(c)(2)
Douglas Sweet, Cindy     Parading in the Capitol    36 mos. probation      Entered the Capitol
Fitchett, 21cr41                                                           Building, Fitchett
                                                                           filming herself saying,
                                                                           “We are storming the
                                                                           Capitol.
                                                                           We have broken in.”
Eric Torrens, 21cr204    Parading in the Capitol    36 mos. probation      Entered the Capitol
                                                                           Building, taking
                                                                           celebratory pictures
                                                                           in the Crypt.
Rasha Abdual-            Parading in the Capitol    36 mos. probation      Entered the Capitol
Ragheb, 21cr42                                                             Building, desiring to
                                                                           demonstrate against
                                                                           Congress.
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Jonathan Sanders,      Parading in the Capitol   36 mos. probation, 60   Entered the Capitol
21cr384                                          hours community         Building, intending to
                                                 service                 protest presidential
                                                                         election
Michael Orangias,      Parading in the Capitol   36 mos. probation       Entered the Capitol
21cr265                                                                  Building, taking
                                                                         pictures inside.
John Wilkerson,        Parading in the Capitol   36 mos. probation, 60   Entered the Capitol
21cr302                                          hours of community      Building, posting on
                                                 service                 social media, “today
                                                                         was a good day, we got
                                                                         inside the
                                                                         Capitol.”
Brandon Nelson,        Parading in the Capitol   24 mos. probation       Entered the Capitol
21cr344                                                                  Building, co- defendant
                                                                         texting, “We stormed
                                                                         the Capitol and shut it
                                                                         down. Currently still

                                                                         inside” and “Patriots
                                                                         won’t go down without
                                                                         a fight.”
Andrew Wrigley,        Parading in the Capitol   18 mos. probation       Entered the Capitol
21cr42                                                                   Building, taking
                                                                         pictures of himself
                                                                         inside
Jacob Hiles, 21cr155   Parading in the Capitol   24 mos. probation       Entered the Capitol
                                                                         Building, taking
                                                                         pictures showing him
                                                                         smoking “an unknown
                                                                         substance”
                                                                         inside.
Bruce Harrison,        Parading in the Capitol   24 mos. probation       Entered the Capitol
21cr365                                                                  Building, taking
                                                                         pictures of himself
                                                                         inside.
Terry Brown, 21cr41    Parading in the Capitol   36 mos. probation       Entered the Capitol
                                                                         Building, disobeyed
                                                                         police order to leave.
Felipe Marquez,        Disorderly conduct in     18 mos. probation       Entered the
21cr136                the Capitol                                       “hideaway” office of
                                                                         Senator Merkley,
                                                                         saying, “We only
                                                                         broke a couple
                                                                         windows.”


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Michael Rusyn,          Parading in the Capitol   24 mos. probation      Among the first to
21cr303                                                                  enter the Capitol
                                                                         through a certain door,
                                                                         part of a group of
                                                                         people who shouted,
                                                                         “Tell Pelosi we’re
                                                                         coming for that
                                                                         b****,” called police
                                                                         traitors, and shouted
                                                                         “Stop the steal.”
Andrew Hatley,          Parading in the Capitol   36 mos. probation      Entered the Capitol
21cr98                                                                   Building, taking
                                                                         pictures with various
                                                                         historical statues.
Nicholas Reimler,       Parading in the Capitol   36 mos. probation      Entered the Capitol
21cr239                                                                  Building, taking
                                                                         pictures of himself
                                                                         and friends.
Caleb Jones, 21cr321    Parading in the Capitol   2 mos. home            Entered the Capitol
                                                  confinement, 24 mos.   Building, “walking
                                                  probation              down numerous
                                                                         hallways and into the
                                                                         Capitol Rotunda.”
Andrew Ericson,         Parading in the Capitol   24 mos. probation      Entered the Capitol
21cr506                                                                  Building, penetrating
                                                                         all the way to the
                                                                         Speaker’s conference
                                                                         room, stealing a
                                                                         possession of the
                                                                         Speaker’s.
Anthony R. Mariotto,    Parading in the Capitol   36 mos. probation      Entered the Capitol
21cr94                                                                   Building, posting on
                                                                         Facebook, “This is
                                                                         our house” under selfie
                                                                         photograph.
Michael Stepakoff,      Parading in the Capitol   12 mos. probation      Entered the Capitol
21cr96                                                                   Building, posting on
                                                                         social media after,
                                                                         “The Capitol is OUR
                                                                         house, not theirs.”
Tanner Sells, 21cr549   Parading in the Capitol   24 mos. probation      Entered the Capitol
                                                                         Building.
Gary Edwards,           Parading in the Capitol   12 mos. probation      Entered the Capitol
21cr366                                                                  Building, including
                                                                         Senate office S140.


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 Zachary, Kelsey           Parading in the Capitol      24 mos. probation      Entered the Capitol
 Wilson, 21cr578                                                               Building, penetrating
                                                                               all the way to the
                                                                               Speaker’s personal
                                                                               office
 Jennifer Parks, Esther    Parading in the Capitol      24 mos. probation      Entered the Capitol
 Schwemmer, 21cr363                                                            Building, taking
                                                                               pictures inside
 Jackson Kostolsky,        Parading in the              36 mos. probation      Entered the Capitol
 21cr197                   Capitol                                             Building
 Eduardo Gonzalez,         Parading in the Capitol      24 mos. probation      Entered the Capitol,
 21cr115                                                                       smoking marijuana
                                                                               inside “multiple
                                                                               times.”
 Rachael Pert, Dana        Entering a restricted        12 mos. probation      Entered the Capitol
 Winn, 21cr139             area                                                Building, Pert later
                                                                               saying, “We were
                                                                               trying to storm them to
                                                                               stop the vote . . .”
 Israel Tutrow, 21-cr-     Parading in a Capitol        36 mos probation       Entered the Capitol
 310                                                                           Building with a knife


       A recent January 6th defendant convicted of the same offense bears a striking resemblance

to White’s offense conduct. Like White, Stephanie Hazelton, 21-cr-30-JDB, pleaded guilty to Civil

Disorder, in violation of § 231(a)(3). Like White, Hazelton was in the Lower West Terrace Tunnel.

Hazelton encouraged rioters to move into the tunnel with her and attempted to push her way

towards the front of the crowd to confront the MPD officers. See US v Hazelton, 21-cr-30 ECF

No. 46, p. 4. Hazelton remained at the front of the mob as rioters used strobe lights to blind MPD

officers and batons and poles to assault the MPD officers. Id. Hazelton left the tunnel and attempted

to recruit men to enter the tunnel to attempt to push the mob past the line of MPD officers. Id. For

her criminal conduct, Hazelton was sentenced to ten days of incarceration and ninety days home

detention. 21-cr-30, ECF No. 59.




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        In light of White’s similar conduct, her intervention in stopping rioters from destroying

property, and the beating she suffered by MPD officers, she would submit that twenty-four months

of probation to include ninety days of home detention is sufficient to meet the goals of sentencing.

        Sentencing White to a term of incarceration in excess of ten days when other January 6th

defendants who received probationary sentences or similar days of incarceration that entered the

Capitol Building and engaged in disorderly conduct there would create unwarranted sentence

disparities.

               C.      The Seriousness of the Offense and Deterrence (§ 3553(a)(2))

        The Court must consider “the need for the sentence imposed . . . to reflect the seriousness

of the offense” and to “afford adequate deterrence to criminal conduct” and to “protect the public

from further crimes of the defendant.” § 3553(a)(2).

        For spontaneous actions that barely lasted more than a couple of hours, White’s criminal

record now includes a felony conviction, though she committed no acts of violence or property

destruction. In fact, White attempted to prevent other rioters from damaging property. Since

January 6th, White has experienced extensive public scrutiny through the media focus on her case

as she is one of the more known January 6th defendants due to the injury she incurred during her

apprehension. Admittedly, White has brought some of this attention on herself by participating in

interviews and maintaining a social media account.

        The government has offered no evidence to suggest that these penalties, coupled with home

detention, probation, and a fine, are insufficient to achieve specific deterrence in a 42-year-old

mother with minimal criminal history, much less that three month’s incarceration is “not greater

than necessary to comply with the purposes of [§ 3553(a)]. . .” § 3553(a).

        White only entered the Capitol Building after she was apprehended. While she attempted

to push her way through the police line, she did not assault any officers or destroy property like
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 many of the other January 6th defendants. She traveled to D.C. to participate in the rally and show

 support for then-president Trump. She had no predetermined intent to riot or breach the Capitol

 Building. While mob mentality is no excuse for White’s behavior, it is clear that she was swept up

 in the moment like thousands of other people near the Capitol Grounds and acted in a manner that

 is incongruent with everything known about her. She has no history of political extremism or

 known involvement in militant organizations. This case has already turned White’s life upside

 down. The government’s suggestion that these heavy blows are insufficient to deter the one-time,

 situational crime White committed is nonsense.

            For all the foregoing reasons, White respectfully requests a sentence not greater than three

 months’ home detention, 24 months’ probation, and a significant fine.

                                                        Respectfully submitted,

                                                        /s/ Zach Crowdes
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                                                        /s/ Brad Hansen
                                                        FEDERAL DEFENDER’S OFFICE
           CERTIFICATE OF SERVICE                       400 Locust Street, Suite 340
I hereby certify that on November 14, 2023, I           Des Moines, Iowa 50309-2353
electronically filed this document with the Clerk of
Court using the ECF system which will serve it on the
                                                        PHONE: (515) 309-9610
appropriate parties.                                    FAX: (515) 309-9625
                      By: /s/ Angie McClain             E-MAIL: brad_hansen@fd.org




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